                       UNITED STATES DISTRICT COURT FOR THE
                       WESTERN DISTRICT OF NORTH CAROLINA
                                CHARLOTTE DIVISION


UNITED STATES OF AMERICA                     )       DOCKET NO. 3:04CR274-MU
                                             )
              vs.                            )       ORDER FOR DISMISSAL
                                             )         INDICTMENT
(10) PHUONG THE TRUONG                       )


       Leave of Court is hereby granted for the dismissal of the Bill of Indictment (as it pertains

to PHUONG THE TRUONG only) in the above-captioned case without prejudice.

       The Clerk is directed to certify copies of this Order to the U.S. Probation Office, U.S.

Marshall Service, Defense Counsel and the United States Attorney's Office.



                                                 Signed: January 9, 2007




      Case 3:04-cr-00274-GCM           Document 336         Filed 01/09/07     Page 1 of 1
